Case 2:02-Cr-20165-BBD Document 602 Filed 08/11/05 Page 1 of 3 Page|D 830
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IN THE UNITED sTATEs DIsTRIcT COURT F‘iED 5‘ “”'
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UNITED sTATEs oF AMERICA )

)

) Criminal No. 02-20165 /
v ) No. 05-20243

)

)
STACY LAYNE BEAVERS )

AGREED ORDER REGARDING TRAVEL RESTRICTIONS
______*___`________

This matter came before the Court on the application of the defendant, Stacy Layne
Beavers, for an order lifting travel restrictions regarding the defendant, and good cause appearing
therefor, With the agreement of the United States, with the understanding that the defendant’s
travel will not interfere with her appearance as a witness in the trial of co-defendants in this
cause, it is hereby ORDERED that travel restrictions shall not be imposed on the defendant as a
condition of or part of the probation heretofore ordered by the Court.

rhis ¢/ “"`day Of August, 2005.

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APPROVED FOR ENTRY:
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Notice of Distribution

This notice confirms a copy of the document docketed as number 602 in
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Honorable Bernice Donald
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